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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRTICT OF DELAWARE

   VLSI TECHNOLOGY LLC,

                         Plaintiff,
                                                Civil Action No. 18-966-CFC-CJB
            v.

   INTEL CORPORATION,

                         Defendant.

             VLSI TECHNOLOGY LLC'S RESPONSE TO THE COURT’S
                          AUGUST 1, 2022 ORDER

            Plaintiff submits as Exhibit A the Declaration of VLSI’s CEO Michael

  Stolarski in Response to Court’s August 1, 2022 Order (the “Declaration”). As set

  forth in the Declaration, VLSI has disclosed the information in its possession,

  custody, and control responsive to the Court’s April 18, 2022 Standing Order

  Regarding Disclosure Statements Required by Federal Rule of Civil Procedure 7.1.

            VLSI, therefore, respectfully submits that it has complied with the Court’s

  August 1, 2022 Order to the best of VLSI’s ability, and is not withholding any

  responsive information from the Court, and the stay in this matter should now be

  lifted.
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   Dated: August 15, 2022          Respectfully submitted,

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